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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-813V
                                     Filed: October 29, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
TRACY FOX,                    *
                              *                               Special Master Gowen
           Petitioner,        *
                              *                               Joint Stipulation on Damages;
v.                            *                               Influenza (“Flu”) Vaccine;
                              *                               Right Arm and Shoulder Injuries;
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
           Respondent.        *
                              *
* * * * * * * * * * * * * * * *

Lawrence R. Cohan, Anapol, Schwartz, Weiss & Smalley, P.C., Philadelphia, PA, for petitioner.
Julia W. McInerny, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

        On October 18, 2013, Tracy Fox (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that, as a result of receiving an influenza (“flu”) vaccine on September 12, 2012, she suffered
injuries to her right arm and shoulder. Stipulation ¶ 2, 4, filed Oct. 27, 2014. Further, petitioner
alleged that she experienced residual effects of her injury for more than six months. Id. at ¶ 4.

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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        On October 27, 2014, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the flu vaccination caused
petitioner’s right arm and shoulder injuries. Id. at ¶ 6. Nevertheless, the parties agree to the joint
stipulation, attached hereto as Appendix A. The undersigned finds the stipulation reasonable and
adopts it as the decision of the Court in awarding damages, on the terms set forth therein.

        The parties also stipulate to an award of attorneys’ fees and costs in the joint stipulation
filed on October 27, 2014. The parties agree to a total award of attorneys’ fees and costs in the
amount of $15,373.47. In accordance with General Order #9, petitioner represents that she did
not personally incur costs related to this proceeding. Id. at ¶ 8(b). The undersigned finds the
stipulation for fees and costs reasonable and adopts it as the decision of the Court.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $85,000.00, in the form of a check payable to petitioner, Tracy Fox.
       This amount represents compensation for all damages that would be available
       under 42 U.S.C. § 300aa-15(a).

       A lump sum of $15,373.47, in the form of a check jointly payable to petitioner and to
       petitioner’s attorney, Lawrence R. Cohan, pursuant to 42 U.S.C. § 300 aa-15(e), for
       attorneys’ fees and costs.

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation and
attorneys’ fees and costs. Accordingly, the clerk of the court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation.3

       IT IS SO ORDERED.

                                               s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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